                       IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF ALASKA


    VICKIE GUTIERREZ,
                Plaintiff,
       vs.                                      Case No. 3:18-cv-00237-TMB
    UNITED STATES OF AMERICA,
                Defendant.


                                ORDER OF DISMISSAL

         Vickie Gutierrez filed a civil case against Dena A. Coy, South Central

Foundation Treatment Program, in the Superior Court for the State of Alaska,

which was served upon South Central Foundation on April 25, 2018, and was

removed to this Court by the United States of America on October 9, 2018. 1 On

October 29, 2018, the United States moved to substitute itself as Defendant, and

moved to dismiss. 2

         On November 29, 2018, this Court issued an Order Regarding Motions and

Proceeding in Federal Court and an Order and Warning Notice to Pro Se Litigants

Re: Motion to Dismiss, also known as a Rand notice. 3 In those orders the Court

instructed Ms. Gutierrez to respond to the motions made by the United States by

December 26, 2018 or waive any objection. Ms. Gutierrez has not filed a response.




1   Dockets 1, 1-1, 1-2; Case No. 3AN-18-06346CI.
2   Dockets 8, 9.
3   Dockets 10, 11.



             Case 3:18-cv-00237-TMB Document 12 Filed 01/03/19 Page 1 of 5
          As such, the Court will rule on two motions before it: (1) Motion to Substitute

United States as Defendant and (2) Motion to Dismiss.

                       Motion to Substitute United States as Defendant

          In its Motion to Substitute itself as Defendant, the United States argues that

“the tort claims alleged against the Dena A. Coy, South Central Foundation

Treatment Program are deemed to be an action against the United States under

the provisions of the FTCA: 4

                [A]t the time of the allegations in Plaintiff’s complaint, the
                Dena A. Coy, South Central Foundation Treatment
                Program, was an Alaska Native tribal organization that
                operates medical facilities and programs in Alaska under
                a compact and agreement with the U. S. Department of
                Health and Human Services (DHHS), pursuant to Pub.L.
                93-638, thus, pursuant to Pub. L. 101-512, Title III, § 314,
                the Dena A. Coy, South Central Foundation Treatment
                Program is deemed to be part of the Indian Health
                Service in the Department of Health and Human Services
                while carrying out its compact and agreement and its
                employees and that any civil action or proceeding
                involving such claims shall be deemed to be an action
                against the United States and will be defended by the
                Attorney General and be afforded the full protection and
                coverage of the Federal Tort Claims Act. 5

          Pub. L. 93-638 authorized the contracting of the Indian Health Service

functions to tribal organizations; and Pub. L. 101-512 made appropriates to the

Department of Health and Human Services for the Indian Health Service. 6 Under


4   Docket 8 at 1-2.
5   Id. at 2.
6Pub. L. 93-638; Pub. L. 101-512; see also Exhibit A, United States Motion to Dismiss
at Docket 9-1 at 2.
3:18-cv-00137-TMB, Gutierrez v. United States of America
Order of Dismissal
Page 2 of 5

            Case 3:18-cv-00237-TMB Document 12 Filed 01/03/19 Page 2 of 5
this statutory scheme, the Department of Health and Human Services, via

Congressional appropriation, funds the Indian Health Service, which in turn

contracts with local and tribal providers. When applied to the facts at hand, Dena

A. Coy, South Central Foundation Treatment Program acts as an instrument of the

Indian Health Service, and thus under the auspices of the Department of Health

and Human Services. 7

         As such, while an organization carries out the functions of a federal agency,

on behalf of a federal agency, any civil suits brought are deemed as an action

against that federal agency, and therefore the United States. 8 Thusly, the United

States is the appropriate Defendant in this case. 9

         Therefore, the United States is substituted as the appropriate defendant for

this action. The Motion at Docket 8 is GRANTED.

                                   Motion to Dismiss

         The United States moves this Court to dismiss this action based on Federal

Rule of Civil Procedure 12(b)(1), lack of subject matter jurisdiction. 10 The United

States argues that an administrative claim is a prerequisite to a Federal Tort




7   see also Docket 9-1 at 2.
8   28 U.S.C. § 2671.
9 See Lance v. United States, 70 F.3d 1093, 1095 (9th Cir. 1995) (“The United States is
the only proper defendant in an FTCA action.”).
10   Docket 9.

3:18-cv-00137-TMB, Gutierrez v. United States of America
Order of Dismissal
Page 3 of 5

           Case 3:18-cv-00237-TMB Document 12 Filed 01/03/19 Page 3 of 5
Claims Act (FTCA) lawsuit. Section § 2675(a) of the Federal Tort Claims Act

states:

                An action shall not be instituted upon a claim against the
                United States for money damages for injury or loss of
                property or personal injury or death caused by the
                negligent or wrongful act or omission of any employee of
                the Government while acting within the scope of his office
                or employment, unless the claimant shall have first
                presented the claim to the appropriate Federal agency
                and his claim shall have been finally denied by the
                agency in writing and sent by certified or registered
                mail. 11

As per statute, a prospective FTCA plaintiff must first present their claim to the

appropriate federal agency and complete the administrative claims process, before

seeking relief from the federal courts.

           Furthermore, the United States submitted the Declaration of Meredith

Torres, as Exhibit A, with its Motion to Dismiss. 12 Ms. Torres represents that she

is an attorney for the Department of Health and Human Services. 13 Ms. Torres

declares that the Department of Health and Human Services maintains a

computerized database of administrative claims, including those filed against

Indian Health Service facilities. 14 She represents that she has performed a search

of this database and has “no record of an administrative tort claim filed by Vicki



11   28 U.S.C. § 2675(a).
12   Docket 9-1.
13   Docket 9-1 at 1.
14   Id.
3:18-cv-00137-TMB, Gutierrez v. United States of America
Order of Dismissal
Page 4 of 5

            Case 3:18-cv-00237-TMB Document 12 Filed 01/03/19 Page 4 of 5
Gutierrez      and/or   an   authorized    representative   relating   to   Southcentral

Foundation.” 15

         Federal law requires that a claim under the FCTA must first be exhausted

through the administrative process. As such, Ms. Gutierrez does not appear to

have exhausted her claim. Therefore, this action is not ripe for this Court to

adjudicate, and currently, this Court does not have subject matter jurisdiction.

         The Motion to Dismiss at Docket 9 is GRANTED.



IT IS THEREFORE ORDERED:

         1. The Motion to Substitute United States as Defendant, at Docket 8, is

            GRANTED.

         2. The Motion to Dismiss, at Docket 9, is GRANTED.

         3. This action, which was removed to federal court at Docket 1, is

            DISMISSED without prejudice for failure to exhaust and for this Court’s

            current lack of subject matter jurisdiction. Ms. Gutierrez may refile her

            complaint upon exhaustion of the administrative process within the

            Department of Health and Human Services.

         4. The Clerk of Court is directed to enter a judgment accordingly.

                DATED at Anchorage, Alaska, this 3rd day of January, 2019.

                                                  /s/ Timothy M. Burgess
                                                  United States District Judge


15   Docket 9-1 at 1.
3:18-cv-00137-TMB, Gutierrez v. United States of America
Order of Dismissal
Page 5 of 5

           Case 3:18-cv-00237-TMB Document 12 Filed 01/03/19 Page 5 of 5
